              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CRIMINAL CASE NO. 1:12cr78-2


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                    vs.                    )      ORDER
                                           )
                                           )
ROBERT NATHANIEL CONARD.                   )
                                           )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 8].

     For cause shown, the Court will grant the Government’s motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 8] is GRANTED, and the Bill of Indictment [Doc. 1] is hereby

DISMISSED WITHOUT PREJUDICE with respect to Defendant Robert

Nathaniel Conard.

     IT IS SO ORDERED.

                                       Signed: October 15, 2012




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